Case 2:08-cv-00101-GZS Document 25-8 Filed 10/21/08 Pagelof4 PagelD #: 299

Exhibit H
(Thornton Emails)

 
 

“G@8AB08-cv-00101-GZS Document 25-8 Filed 10/21/08 Page 2of4 :fagelb#: 300

Bryan Repetto

From: Dr. Jerry Thomton [jthomton@smucaymen.com}
Sent: Tuesday, May 30,2006 11:38 AM

To: ‘Bryan Repetto’
Subject: RE: Licensure Question

As you know itis now one and a half years since California issued the denial status. We have two aitomey _
groups in California advising us on this matter. ‘Currently the advise suggests that we approach them regarding a
review at the end of two years. Califomia has not responded to any requests for information about the "next. ~
step". We, of course, do nat believe that the site visit was unbiased and the deficiencies noted in their report were
either false or inaccurate. However, it is their state and they do have a charge of ensuring the public that any

medical graduate coming inta-the state would not put them at risk.
However, in the Summer of 2004 the Board in California changed another of their ules. The rule change
changed the language "a graduate is eligible to participate in a residency. as long as the school from which they . °
graduated was approved by California by ihe time that they graduated" fo "a graduate must have taken every -

course credit in an California approved school".

By this change they wiped out the possibility of any graduate who has completed even one credit in a non
approved school of ever practicing in California. California does not accept licenses from other states. Itis a very

_ bad and very discriminating rule. California has made it publicly clear that they wish to rid itself from any
graduates from any Caribbean school.

We will not give up and will continue to pursue this approval.

Jerry W. Thomton, Ph.D.
President

St Matthew's University
School of Medicine

Schooi of Veterinary Medicine
Grand Cayman
800-498-9700

Fax 407-977-9346

 

From: Bryan Repetto [maiito:brepetto@smucayman.com]
Sent: Saturday, May 27, 2006 7:27 PM

To: Jerry Thornton’

Subject: RE: Licensure Question

Hello Dr. Tharnion,

Have there been any developments in SMU's attempt to gain Califomia approval? When is SMU planning to
have the team from Harvard visit? Is the intention of the Harvard team’s report to counteract the findings of the
Califarnia Medical Board? Would such a report be enough (at least in theory) for the California Medical Board to
grant SMU approval as the team from Harvard is unaffiliated with the Medical Board? 1s SMU interested in
receiving approval only for future classes, or is SMU also seeking retroactive approval (this is an area | am
particularly interested in)? As | am from California, | definitely want the option of practicing there, although due to
competition for residency posilions and the high cost of living, | have always seen myself completing residency in
another state so [am in no hurry, and | have complete confidence in the education fam receiving at SMU and [
have no desire to repeat all course work | have completed to this point. Is SMU considering lobbying to change
the law in California to allow for another pathway for licensure (such as applying for licensure through
endorsement, or applying after completian of an ACGME approved residency)? Being 4 registered voter in
California, | am definitely willing to assist SMU in any way possible including writing to and meeting with my state

1/29/2007

Baar) a oom

Coperte 5

 

a

a

a

sO
zt

~

a9

oa
©

o

a

oa

a

=

cS

=

i

a

 

 
ase 2-08-cv-00101-GZS Document 25-8 Filed 10/21/08 Page 30f4 pRage|p;#: 301

senator, assembly member, and other elected officials.
Thank you for your time and candor.

Most sincerely,

Bryan E. Repetto

From: Jerry Thornton [mailto:jthomton@smucayman.com}
Sent: Thursday, March 09, 2006 11:44 AM

To: ‘Bryan Repetto’ ,

Subject: RE: Licensure Question

Hello Bryan

Certainly we remain concerned about approval in Califomia. We continue to work on this on a daily basis and
have two legal California teams advising us. California’s Current board rule states that all graduates ofan _ -
approved school must have completed all of their education in the school that was approved from the beginning.
Certainly we don't agree with this but it is law'so that even if they later review us and approve us we would have
no contra! over this matter. The only other states which have given us difficulty because of Califomia has been
Texas and indiana. Texas is in the process of changing this and is likely going to allow any state licensed.and - —
certified physician to move their license into Texas regardless of the University they attended. However; when:
and if California ever takes such a ralionai approach is not known. | truly believe that the Texas approach is the
most reasonable and rational. That said, | have never seen California to be either reasonabfe or rational. I wish !
had better information but that is the state of the art for the moment. We continue to work toward thatend. ~~

Dr. Thornton

Jerry W. Thornton, Ph.D.
President
St Matthew's University
School of Medicine

. Schoo! of Veterinary Medicine
Grand Gayman
800-498-9700
Fax 407-977-9346

——-Original Message-----

From: Bryan Repetto [mailto:-brepetto@smucayman.com]
Sent: Wednesday, March 08, 2006 10:06 PM

To: Jerry Thornton’

Subject: RE: Licensure Question

Dr. Thornton,

Thank you for your forthcoming reply. | appreciate your response.

In reading the report made by the California Medica! Board, SMU's rebuttal, and the Business and
Professions Code of California, | agree that SMU was not fairly evaluated. Is SMU attempting to have the
final outcome of this situation be retroactive to include my class (I started at SMU in January of 2005)?

Finally, have any SMU graduates experienced any licensing difficulties in any other states as a result of the
decision of the California Medicat Board?

Thank you again for your time.

Bryan E. Repetto

1/29/2007

BR 00394 —

 
G9SE,2408-cv-00101-GZS Document 25-8 Filed 10/21/08 Page 4 of 4 Fags! as: 302

 

From: Jerry Thornton [mailto:jthornton@smucayman.com]
Sent: Wednesday, March 08, 2006 8:40 PM

To: ‘Bryan Repetto’
Subject: RE: Licensure Question

Hello Bryan
Yes we ave stil working on the California approval process. Jt is a most confusing situation and our next

move is fo invite Harvard administrative personnel down to SMU to review us and to report to Califomia. ~~
We feel we were not fairly evaluated and wish another review. We are trying to stay outofcourtand =|:
{ooking for a more amicable resolution, As developments occur we will keep students informed.

Dr. Themton

From: Bryan Repetto [mailto:brepetto@smucayman.com]
Sent: Sunday, March 05, 2006 9:46 PM

To: jthornton@smucayman.com

Subject: Licensure Question

_ Dr. Thomton,

iam currently a fourth semester student in Maine. | am also from Califomia. ! was wondering what, if
anything, St. Matthew's University is doing in regards.to the Califomia Medical Board’s decision to deny ‘—
SMU approval. | would be perfectly content practicing medicine in another state, and | do believe SMU
provides a solid medical education, but it has now been over a year since the Califomia Medical Board
made its decision and i am not aware of any actions taken by SMU. Is SMU attempting to have a court © -
overtum the medical board's decision? Is SMU making any aitempt for current students to be included in
any favorable decision by the medical board? Lastly, are you aware of any license applications from SMU
students in other states that have been decision adversely impacted due to the California Medical Board’s

decision?

iam still a California resident and | do return to Califomia frequently during semester breaks. | am willing
to assist SMU in legislative lobbying activities if that is a course of action SMU decides to take.

Thank you for your time. i look forward to your response.

Most sincerely,

Bryan E. Repetto

1/29/2007

BR 00395

 

 
